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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         Case No. 23-CR-80205-ROSENBERG

  UNITED STATES OF AMERICA,
      Plaintiff,

  vs.

  MALIK ATKINSON,
        Defendant.
  ______________________________/

             DEFENDANT’S MOTION FOR DOWNWARD VARIANCE
                    & SENTENCING MEMORANDUM

        Malik Atkinson is a 26-year old child in a man’s body. Before his arrest, he

  lived with his father, a local high school teacher. His mother, a former college

  basketball coach, lives in an assisted living facility because she suffers from

  dementia. She does not recognize her son anymore. In his spare time, Malik liked to

  play video games and spend time at comic book stores where he played role-playing

  games competitively. When he was not doing those things, he had an internship at a

  bank he hoped would turn into a career. That hope is now gone.

        Instead, the sentencing guidelines recommend a life sentence and the

  government will surely ask for lengthy punishment. He engaged in consensual sexual

  relationships with two underage girls he met online and recorded those exploits.

  Though he has admitted his conduct and accepted responsibility for it, the guidelines

  provide him no relief. Nor do they consider his youth – significant mitigation

  according to both science and the Supreme Court. With better options than simply




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  locking him in a cage forever, he asks this Court show him mercy and consider a

  sentence of ten years in prison followed by a lengthy term of supervised release.

        A. Both science and the law recognize youth as significant
           mitigation.

        The Supreme Court has long recognized youth as significant mitigation for

  criminal behavior. Indeed, the High Court has explained what every parent knows

  and science has confirmed: that “[a] lack of maturity and an underdeveloped sense of

  responsibility are found in youth more often than in adults” and “[t]hese qualities

  often result in impetuous and ill-considered actions and decisions.” Roper v.

  Simmons, 543 U.S. 551, 569 (2005). The “transient rashness, proclivity for risk, and

  inability to assess consequences” of the youthful brain both lessens “moral

  culpability” and increases the likelihood that, as they develop neurologically, their

  “deficiencies will be reformed.” Graham v. Florida, 560 U.S. 48, 68 (2010). These

  qualities of youth “render suspect” any conclusion that a young offender “falls among

  the worst.” Roper, 543 U.S. at 570.

        Nor do these qualities disappear when the child turns 18. Roper, 543 U.S. at

  574. The American Academy of Pediatrics has found “increasing evidence that brain

  development has not reliably reached adult levels of functioning until well into the

  third decade of life.” American Academy of Pediatrics. Policy Statement: Age Limit of

  Pediatrics. Pediatrics (journal). Vol. 140, Issue 3, Sept. 2017, available at

  https://publications.aap.org/pediatrics/article/140/3/e20172151/38333/Age-Limit-of-

  Pediatrics. Brain science recognizes that young people “(1) tend to be more strongly

  motivated by the possibility of reward than adults; (2) have greater difficulty

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  controlling their impulses; and (3) have greater difficulty recognizing and regulating

  emotional responses” and that these attributes continue to develop through early

  adulthood. Brief for the American Medical Association and American Academy of

  Child and Adolescent Psychiatry as Amici Curiae in Support of Neither Party, Miller,

  567 U.S. 460, 2012 WL 121237, 7-11. Moreover, brain-imaging techniques reflect the

  biological basis for these differences evolving well into late adolescence, highlighting

  differences in the physical structure of the brain, its makeup, and its ways of

  processing input. Id. at 13-30; see also, Center for Law, Brain & Behavior at

  Massachusetts General Hospital, White Paper on the Science of Late Adolescence: A

  Guide    for   Judges,   Attorneys   and   Policy   Makers   2   (2022)   available   at

  https://clbb.mgh.harvard.edu/wp-content/uploads/CLBB-White-Paper-on-the-

  Science-of-Late-Adolescence-3.pdf (hereinafter “White Paper”).

          And, while late adolescents take more risks, engage in more sensation-seeking

  behavior, and are more likely than young adults to respond to immediate outcomes

  and less likely to delay gratification, most “will not continue to offend through their

  twenties, thirties and beyond.” White Paper at 2. Science shows the behavioral

  qualities of adolescents reflect their incomplete “sense of self” - one significantly

  influenced by their maturity and surrounding social environment. Brief for the

  American Psychological Association et. al. as Amicus Curiae in Support of

  Petitioners, Miller, 567 U.S. 460, 2012 WL 174239, 19. This process of identity change

  “typically remains incomplete until at least the early twenties'' when a more

  permanent personality becomes established. Id. at 19-20 (emphasis added). In other



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  words, poor decision-making and antisocial behaviors are ones many outgrow with

  time. Id. at 21.

         Here, Malik was in his early 20s when he was acting out sexually through

  pornography, multiple sexual partners, underage sexual partners, and videotaping

  his sexual exploits. At sentencing, Dr. Sheila Rapa, a forensic psychologist with whom

  this Court is familiar, will testify that, while Malik’s conduct was both egregiously

  inappropriate and admittedly illegal, his immature brain likely contributed to his

  impulsivity, thrill seeking behavior, and failure to consider consequences. She will

  discuss the research that suggests young adults, like Malik, tend to do much better

  in treatment than their older counterparts because it is easier to change sexual

  behaviors not yet ingrained. And she will describe the protective factors in Malik’s

  life that bode well for him if he engages in such treatment.

         B. Section 2G2.1 fails to distinguish between the least and worst
            offenders.

         While this Court must properly calculate an advisory guideline range, it may

  reject that range “based on a policy disagreement” with the particular guideline at

  issue. Spears v. United States, 555 U.S. 261, 264 (2009); see also Kimbrough v. United

  States, 552 U.S. 85, 109 (2007). Here, this Court should place little weight on the

  guideline recommendation because, despite the Sentencing Commission’s stated goal

  of “proportionality in sentencing,” U.S.S.G. § 1A1.3, section 2G2.1 fails to distinguish

  between the least and worst production offenders. Jacob, 631 F. Supp.2d at 1114-15;

  see also United States v. Price, 775 F.3d 828, 841 (7th Cir. 2014) (affirming the district




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  court’s decision to categorically reject the advisory guideline range for the same

  reasons). A comparison of this case to other section 2G2.1 cases illustrates the point.

        Here, Malik, a first-time offender, used the internet to solicit, and later engage

  in, consensual, sexual relationships with two 15-year old minors, which he also

  recorded, while he was in his early twenties. For this conduct, section 2G2.1

  recommends a sentence of life in prison – the maximum punishment the statute

  permits. But that section also recommended the statutory maximum for a defendant

  in his forties who travelled to Asia over 4-5 years to record his rape, sodomization,

  humiliation, and torture more than 50 children, some as young as four years old. See

  United States v. Irey, 612 F.3d 1160, 1166-68 (11th Cir. 2010). And again, for a

  defendant who victimized his stepdaughter for more than a decade starting when she

  was only eleven years old, videotaping himself raping her, beating her until she cried

  and begged him to stop, and even inviting another adult male to do the same. United

  States v. Dean, 635 F.3d 1200, 1202-03 (11th Cir. 2011). Other defendants who

  physically, sexually abused prepubescent minors have received the same

  recommendation. United States v. Fox, 926 F.3d 1275 (11th Cir. 2019) (sentencing

  defendant who sexually abused his prepubescent granddaughters on a nightly basis

  for over a year); United States v. Harrelson, 781 Fed. Appx. 841 (11th Cir. 2019)

  (affirming sentence for defendant who made multiple videos of himself having sex

  with a nine-year old girl).

        While Malik’s actions are less egregious than the conduct of each of these

  defendants, section 2G2.1 treats him no differently. Though ironically, none of those



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  defendants received a life sentence because their statutory maximums were just 30

  years. Moreover, neither Malik’s lack of any criminal history nor his decision to accept

  responsibility yield him any relief. Even with a criminal history category I and a 3-

  level reduction for acceptance, his guideline range remains the same: life. This kind

  of absurd result explains why district courts have imposed below guidelines sentences

  for more than 60 percent of section 2G2.1 cases. 1

        C. Comparison of Malik’s case to several recent, local cases is
           instructive.

        In United States v. Andrew Melendez-Gonzalez, Case No. 19-CR-80208-DMM,

  the 20-year-old defendant admitted to soliciting sexually explicit images and videos

  from a 15-year-old minor in the Philippines. After the young girl’s mother discovered

  and tried to end the relationship, the defendant responded with threats of violence

  and public exposure of the prior images and videos the girl had sent. Unlike Malik,

  the defendant was on state probation for very similar behavior. In that case, he had

  actual sex with a 15-year-old minor and had solicited and received sexually explicit

  images from her as well. When she tried to end the relationship, he made good on his

  threats to post those images online. Still, Judge Middlebrooks sentenced him to 240

  months, rejecting the guideline range (which also called for the maximum possible




  1 Undersigned counsel used the Sentencing Commission’s Interactive Data Analyzer

  found    at  https://ida.ussc.gov/analytics/saw.dll?Dashboard      to   make     this
  determination. To access the specific data, from the top ribbon menu, select
  “Guideline Application” hyperlink, then select “Sentences Relative to Guideline
  Range.” From there, use the “Primary Guideline” filter to select § 2G2.1. Then scroll
  down to the Sentences Imposed Relative to Guideline Range data table for raw
  numbers and percentages.
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  sentence) and the government’s recommendation of 30 years.

        In United States v. Marco Orrego, 17-CR-80097-DMM, Judge Middlebrooks

  again imposed a 240-month sentence, this time with the government’s approval, after

  the defendant pled guilty to one count of sex trafficking of a minor and one count of

  production of child pornography. This defendant had sex with a 16-year-old girl on

  multiple occasions, photographed and videotaped his encounters, and then acted as

  her pimp. He also helped her place an advertisement on Backpage.com that offered

  her sexual services, encouraged her to have sex with other men for money, and then

  profited from her encounters with those men. The victim complied because she was

  “extremely scared” and “had nowhere to go.”

        In United States v. Jeffrey Holcombe, Case No. 21-CR-20261-RAR, Judge Ruiz

  imposed a 230-month sentence after the defendant pled guilty to one count of

  production of child pornography. There, the defendant, a 49-year-old man, met a 13-

  year-old girl on the internet and engaged in an online sexual relationship. When the

  victim told him she did not want to send any more images or videos, he threatened to

  sell her previously disclosed images online, post them around the neighborhood where

  she lived, and find her and her family. At one point during their chats, the defendant

  asked the victim to insert a hairbrush into her rectum – a request with which she

  complied.

        Finally, in United States v. Christian Sandoval, Case No. 22-CR-60037-RAR,

  Judge Ruiz sentenced the defendant to 231 months in prison after he admitted

  enticing an eight-year-old girl to send him sexually explicit images of herself. He



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  repeatedly asked her for the images, directed her on how and where to produce them,

  and overcame her reluctance by sending her images of another eight-year-old girl

  with her vagina exposed. The images she sent him included one of her penetrating

  her vagina, as he instructed. While Judge Ruiz ultimately imposed a 231-month

  sentence, it is important to note the government in that case actually recommended

  a sentence of just 180 months.

         It is difficult to see how anyone could describe Malik’s conduct as worse than

  that of any of these defendants and this Court should fashion a sentence that reflects

  this fact.

         D. This Court can reasonably protect the public without
            sentencing Malik to life in prison.

         The Adam Walsh Act permits the government to seek continued detention at

  the end of a sexual offender’s prison sentence if it believes he remains sexually

  dangerous at that time. 18 U.S.C. § 4248. Thus, this Court need not decide today

  whether a life sentence is necessary to protect society from Malik in the future. It can

  wait to see what impact a shorter, but still lengthy, prison sentence has on him before

  deciding whether he is too dangerous to release.

         This Court can also order a lengthy period of supervised release, allowing

  probation to monitor his behavior with the constant threat of additional incarceration

  if he fails to comply. Moreover, regardless of any term of supervised release, federal

  law, and all state laws, require him to register as a sexual offender upon his release

  from prison. As such, any community in which he chooses to live will be aware of any

  remaining danger he may present, and law enforcement can monitor him accordingly.

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  Simply stated, this Court need not incarcerate Malik for the rest of his life to protect

  society from him.

        E. “Mercy bears richer fruits than strict justice.”
                                                  ~ Abraham Lincoln

        While “[m]ercy is seldom included on the list of “traditional” rationales for

  sentencing,” section 3553 evinces Congress’ intent – this Court should impose the

  “lowest possible penalty consistent with the goals of sentencing.” United States v

  Blarek, 7 F. Supp. 2d 192, 210 (E.D.N.Y. 1998); see also 18 U.S.C. § 3553(a). “The

  notion that undue harshness should be avoided by those sitting in judgment has long

  been a part of the human fabric and spirit. Lenity is often the desirable route.” Id.

  Here, for all of the reasons noted, Malik begs this Court’s mercy.

        WHEREFORE, the Defendant, MALIK ATKINSON, respectfully requests this

  Court grant this motion for a downward variance.

                                          Respectfully submitted,

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                              CERTIFICATE OF SERVICE
         I hereby certify that on March 29, 2024, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices

   of Electronic Filing generated by CM/ECF or in some other authorized manner for

   those counsel or parties who are not authorized to receive electronically Notices of

   Electronic Filing.


                                          s/ Scott Berry
                                          Scott Berry




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